                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                           DOCKET NO. 5:05CR258-3-V


UNITED STATES OF AMERICA                             )
                                                     )
              v.                                     )
                                                     )          ORDER
DARRELL PROFFITT,                                    )
                                                     )
                  Defendant.                         )
__________________________________________


       THIS MATTER is before the Court on counsel for the Defendant’s “Motion For Extension

Of Time” (document #89) filed February 9, 2006. For the reasons stated therein, the Motion is

hereby GRANTED.

       IT IS THEREFORE ORDERED:

       1. Counsel for the Defendant’s deadline for filing pre-trial motions is hereby extended until

March 15, 2006.

       2. The Clerk is directed to send copies of this Order to counsel for the parties.

       SO ORDERED.


                                                 Signed: February 9, 2006




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